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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )              CASE NO. 1:11cr00391-004
                                              )
       Plaintiff,                             )              JUDGE: JAMES S. GWIN
                                              )
vs.                                           )              ORDER ON PROBATION
                                              )              VIOLATION REPORT; ORDER
SHANIQWA JACKSON,                             )              TO FILE DOCUMENT UNDER
                                              )              SEAL
       Defendant.                             )



       This matter was heard on November 19, 2013, upon the request of the United States

Pretrial and Probation Office for a finding that defendant violated the conditions of probation.

The defendant was present and represented by Attorney Edward Bryan. The defendant executed

a Waiver of Conflict of Interest which the Court found to be knowing and voluntary and the

Court accepted the Waiver. The Waiver shall be filed under seal.

       The original violation report was referred to Magistrate Judge Kenneth S. McHargh who

issued a Report and Recommendation on October 30, 2013 [Doc. 152]. No objections were filed

by either plaintiff or defendant and the Court adopted the Report and Recommendation and

found defendant’s conditions of probation had been violated as follows:

               1) failure to complete Location Monitoring Program;

               2) failure to attend mental health counseling as scheduled;

               3) failure to attend G.E.D. as instructed;

               4) failure to follow instruction of the Probation Officer;
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              5) unstable housing

       The Court, having reviewed the record presented, continued defendant’s term of

probation as originally imposed. The Court, upon the recommendation of the supervising officer

and agreement of counsel for both parties, imposed the additional condition of placement at

Oriana House. The initial placement was imposed for at least 1 month and shall not exceed 6

months. The supervising officer will assist defendant in obtaining suitable housing and

adjustment of her medications. Upon the request of the Probation Officer the fee for Oriana

House was waived.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio pending

placement at Oriana House.



Dated: November 20, 2013                            s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
